                                  CASE 0:21-cr-00174-NEB-DTS Doc. 45 Filed 12/30/21 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )            BEFORE: JOHN F. DOCHERTY
                                      Plaintiff,         )                 U.S. District Judge
                                                         )
   v.                                                    )   Case No:           21-cr-174 NEB/DTS
                                                         )   Date:              December 30, 2021
William Howard Proto, Jr,                                )   Court Reporter:    Kristine Mousseau
                                                         )   Video Conference
                                      Defendant,         )   Time Commenced:    3:24 p.m.
                                                             Time Concluded:    3:30 p.m.
                                                             Time in Court:     6 minutes


X RECONSIDERATION OF DETENTION HRG


APPEARANCES:

   Plaintiff: Ruth Shnider, Assistant U.S. Attorney
   Defendant: Daniel Repka, Esq.
                   X Retained


On X Motion [35] for Detention Reopening

 X Deft requested to postpone the reconsideration of detention hearing. Reconsideration of detention hearing to be
                                                                        rescheduled to a date and time TBD.
X Text-only order with more information to follow.



Additional Information:

X Defendant consents to this hearing via video conference.
X A typographical error on the second page of the Statement of Facts in Support of Exclusion of Time Under the
                           Speedy Trial Act (Dkt. No. 29) was corrected. The Defense shall file a corrected
                           document.



                                                                                                            s/SAE
                                                                                  Signature of Criminal Duty Clerk




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